 Case 1:15-cv-00373-SLR Document 17-1 Filed 06/04/15 Page 1 of 4 PageID #: 897



                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

--------------------------------------------------------------x
YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPAAMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                            Plaintiffs,                           Case No.: 15-cv-373 (SLR)

                        - against -                               ECF Case

RICHARD A. EHRLICH, STEPHEN H.
DECKOFF, LESLIE A. MEIER, JEFFREY A.
SCHAFFER, BDCM OPPORTUNITY FUND II,
L.P., BLACK DIAMOND CLO 2005-1 LTD., and :
SPECTRUM INVESTMENT PARTNERS, L.P.,

                            Defendants.

--------------------------------------------------------------x

      AFFIRMATION OF KERRI K. MUMFORD IN SUPPORT OF DEFENDANTS'
                MOTION TO DISMISS OR STAY THE ACTION

                 I, KERRI K. MUMFORD, affirm as follows:

        1.       I am an attorney admitted to practice in the State of Delaware and before the

United States District Court for the District of Delaware. I am a Partner with the law firm of

Landis Rath & Cobb LLP, counsel for Defendants Richard A. Ehrlich, Stephen H. Deckoff,

Leslie A. Meier, Jeffrey A. Schaffer, BDCM Opportunity Fund II, L.P., Black Diamond CLO

2005-1 Ltd., and Spectrum Investment Partners, L.P. (collectively, "Defendants") in the above-

captioned action. I submit this affirmation in support of Defendants' Motion to Dismiss or Stay

the Action.

        2.       Attached hereto as Exhibit 1 is a true and correct copy of the Complaint in

Yucaipa Am. Alliance Fund I, L.P v. Ehrlich, No. 1:15-cv-00916 (DLC) (S.D.N.Y), dated

February 6, 2015 (the "SDNY Complaint").
 Case 1:15-cv-00373-SLR Document 17-1 Filed 06/04/15 Page 2 of 4 PageID #: 898



        3.     Attached hereto as Exhibit 2 is a true and correct copy of the Certification of

Counsel Regarding Order for Relief in Involuntary Proceedings, dated June 10, 2012. (Allied

Systems Holdings, Inc. v. Am. Money Mgmt., et al., Adv. Proc. 12-50947 (CSS) (Bankr. D. Del.)

("Allied Adv. Proc."), D.I. No. 68.)

        4.     Attached hereto as Exhibit 3 is a true and correct copy of the Order (A) Granting

Motion of the Official Committee of Unsecured Creditors for Standing to Prosecute Certain

Claims of the Debtors' Estates, (B) Granting Motion of Petitioning Creditors for Leave to

Intervene, and (C) Granting Related Relief, dated March 21, 2013. (In re ASHINC Corporation,

et al., Case No. 12-11564 (CSS) (Bankr. D. Del.) ("Allied Bankr."), D.I. No. 1015.)

        5.     Attached hereto as Exhibit 4 is a true and correct copy of The Official Committee

of Unsecured Creditors' Complaint for (I) Equitable Subordination, (II) Recharacterization, (III)

Breach of Contract, (IV) Specific Performance, (V) Breaches of Fiduciary Duties, (VI) Aiding

and Abetting Breaches of Fiduciary Duties, (VII) Avoidance and Recovery of Avoidable

Transfers, and (VIII) Disallowance of Certain Claims, dated February 1, 2013. (The Official

Committee of Unsecured Creditors ofAllied Systems Holdings, Inc. v. Yucaipa Am. Alliance

Fund I, L.P, et al., Adv. Proc. No. 13-50530 (CSS) (Bankr. D. Del.) ("Committee Adv. Proc."),

D.I. No. 1.)

       6.      Attached hereto as Exhibit 5 is a true and correct copy of the Motion of the

Official Committee of Unsecured Creditors for an Order Authorizing the Committee to Pursue

Certain Claims and Causes of Action of the Debtors' Estates, dated February 1, 2013. (Allied

Bankr., D.I. No. 858.)




                                                2
 Case 1:15-cv-00373-SLR Document 17-1 Filed 06/04/15 Page 3 of 4 PageID #: 899



        7.     Attached hereto as Exhibit 6 is a true and correct copy of the transcript of

proceedings held on February 27, 2013 before the United States Bankruptcy Court for the

District of Delaware (the "Bankruptcy Court"). (Allied Adv. Proc., D.I. No. 162.)

        8.     Attached hereto as Exhibit 7 is a true and correct copy of The Official Committee

of Unsecured Creditors' Amended Complaint for (I) Equitable Subordination, (II)

Recharacterization, (III) Breach of Contract, (IV) Specific Performance, (V) Breaches of

Fiduciary Duties, (VI) Aiding and Abetting Breaches of Fiduciary Duties, (VII) Avoidance and

Recovery of Avoidable Transfers, and (VIII) Disallowance of Certain Claims, dated March 14,

2013. (Committee Adv. Proc., D.I. No. 76.)

       9.      Attached hereto as Exhibit 8 is a true and correct copy of the transcript of

proceedings held on July 30, 2013 before the Bankruptcy Court. (Committee Adv. Proc., D.I.

No. 297.)

       10.     Attached hereto as Exhibit 9 is a true and correct copy of the Order (A)

Approving Asset Purchase Agreement and Authorizing the Sale of Assets of the Debtors Outside

the Ordinary Course of Business, (B) Authorizing the Sale of Assets Free and Clear of All Liens,

Claims, Encumbrances and Interests, (C) Authorizing the Assumption and Sale and Assignment

of Certain Executory Contracts and Unexpired Leases, and (D) Granting Related Relief, dated

September 17, 2013. (Allied Bankr., D.I. No. 1837.)

       11.    Attached hereto as Exhibit 10 is a true and correct copy of the Complaint for (I)

Equitable Subordination, (II) Breach of Contract, (III) Breach of the Implied Duty of Good Faith

and Fair Dealing, and (IV) Tortious Interference With Contract, dated November 19, 2014.

(BDCM Opportunity Fund II, LP, et al. v. Yucaipa Am. Alliance Fund I, L.P, et al., Adv. Proc.

No. 14-50971 (CSS) (Bankr. D. Del.) ("BD/S Adv. Proc."), D.I. No. 1.)



                                                3
 Case 1:15-cv-00373-SLR Document 17-1 Filed 06/04/15 Page 4 of 4 PageID #: 900



        12.     Attached hereto as Exhibit 11 is a true and correct copy of Defendants' Answer

and Counterclaims, dated February 19, 2015. (BD/S Adv. Proc., D.I. No. 19.)

        13.     Attached hereto as Exhibit 12 is a true and correct copy of Judge Cote's Order,

dated April 7, 2015. Yucaipa Am. Alliance Fund I, L.P v. Ehrlich, No. 1:15-cv-00916 (DLC)

(S.D.N.Y. Feb. 6, 2015), D.I. 21.

        14.     Attached hereto as Exhibit 13 is a true and correct copy ofYucaipa's Amended

Counterclaim and Cross-Claim for Declaratory Judgment and Injunctive and Other Relief and

Amended Answer to Debtors' Verified Complaint, dated January 5, 2013. (Allied. Adv. Proc.,

D.I. No. 65.)



Dated: Wilmington, Delaware                           Isl Kerri K. Mumford
       June 4, 2015                                    Kerri K. Mumford




                                                4
